          Case 4:22-cv-01607-HSG Document 44 Filed 06/16/22 Page 1 of 2




 1 Alex R. Straus, SBN 321366
   astraus@milberg.com
 2 MILBERG COLEMAN BRYSON
   PHILLIPS GROSSMAN PLLC
 3
   280 S. Beverly Drive, Ste PH
 4 Beverly Hills, CA 90212
   Telephone: (917) 471-1894
 5 Facsimile: (310) 496-3176

 6 Counsel for Plaintiff and Proposed Classes

 7
                                UNITED STATES DISTRICT COURT
 8                            NORTHERN DISTRICT OF CALIFORNIA
 9                                   OAKLAND DIVISION

10 MARIA LOPEZ, GREGORY KILCREASE,
   VERONICA HOWARD and REGINA
11 ROGERS and on Behalf of Themselves and
   Others Similarly Situated,
12
          Plaintiffs,                                    Case No.: 4:22-cv-01607-HSG
13
          v.                                             Hon. Haywood S. Gilliam, Jr.
14
   ONVOY, LLC; INTELIQUENT, INC.; IP
15 HORIZON COMMUNICATIONS LLC;                           Date:
   HIGHER EDUCATION LOAN                                 Time:
16 AUTHORITY OF THE STATE OF
   MISSOURI (MOHELA); SOCIAL                             Location:     Courtroom 2, Fourth Floor
17 FINANCE, INC.; SOFI LENDING CORP;                                   United States Courthouse
   DOE TELEMARKETING COMPANIES 1-                                      1301 Clay Street
18 10 and JOHN DOES 1-10,                                              Oakland, California 94612
19          Defendants.

20                      PLAINTIFFS’ VOLUNTARY DISMISSAL OF CLAIMS
21
            Pursuant to Federal Rule of Civil Procedure 41(a)(1)(A), Plaintiffs Maria Lopez, Gregory
22
     Kilcrease, Regina Rogers, and Veronica Howard (“Plaintiffs”), through counsel, hereby voluntarily
23
     dismiss all claims without prejudice against Defendants Onvoy, LLC, Inteliquent, Inc., and IP
24

25 Horizon Communications LLC.

26

27
     Dated: June 16, 2022.                       /s/ Alex R. Straus
28                                               MILBERG COLEMAN BRYSON PHILLIPS
                                                 GROSSMAN, PLLC
                                                   -1-
     Plaintiffs’ Voluntary Dismissal of Claims
          Case 4:22-cv-01607-HSG Document 44 Filed 06/16/22 Page 2 of 2




 1                                               Alex Straus (SBN 321366)
                                                 280 S. Beverly Drive, Ste PH
 2                                               Beverly Hills, CA 90212
                                                 Telephone: (917) 471-1894
 3                                               Counsel for Plaintiffs and the Proposed Classes

 4

 5

 6

 7

 8

 9

10

11

12

13

14

15

16

17

18

19

20

21

22

23

24

25

26

27

28

                                                    -2-
     Plaintiffs’ Voluntary Dismissal of Claims
